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                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                      :
                                              :
       versus                                 :              CRIMINAL NO. 25-64-JWD-SDJ
                                              :
PARIS LASHAY HAYNES                           :


                                NOTICE OF APPEARANCE

       Please note the appearance of Assistant United States Attorney J. Brady Casey, as co-

counsel for the Government in regard to forfeiture proceedings in the above-styled cause. The

Government requests that any and all pleadings, correspondence, and other matters pertaining to

this case be directed to the undersigned, on behalf of the Government.


                                             UNITED STATES OF AMERICA, by

                                            APRIL M. LEON
                                            ACTING UNITED STATES ATTORNEY



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